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1     HEATHER E. WILLIAMS, #122664
      Federal Defender
2     MEGAN T. HOPKINS, #294141
      Assistant Federal Defender
3     2300 Tulare Street, Suite 330
      Fresno, CA 93721-2226
4     Telephone: 559.487.5561/Fax: 559-487-5950
5     Attorney for Defendant
      RAMSEY J. FARRAJ
6
7
8                                IN THE UNITED STATES DISTRICT COURT
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,                        Case No. 1:15-cr-0286-DAD-BAM
12                       Plaintiff,
13     vs.                                             STIPULATION AND ORDER TO VACATE
                                                       STATUS CONFERENCE AND SET CHANGE
14     RAMSEY J. FARRAJ,                               OF PLEA HEARING
15                    Defendant.                       Date: May 22, 2017
                                                       Time: 10:00 a.m.
16                                                     Judge: Hon. Dale A. Drozd
17
18           IT IS HEREBY STIPULATED by and between the parties hereto, and through their
19    respective attorneys of record, that the status conference set for Wednesday, May 10, 2017 at
20    2:00 p.m. be vacated as to Mr. Farraj only, and that a change of plea hearing be set for Monday,
21    May 22, 2017 at 10:00 a.m. in light of the plea agreement which has been filed in Mr. Farraj’s
22    case. (Dkt. 230)
23           The additional time between now and the date of the change of plea hearing will allow
24    defendant to meet with counsel to discuss change of plea procedure and timeline for sentencing
25    preparation.
26           The parties agree that the delay resulting from the continuance shall be excluded in the
27    interests of justice, including but not limited to, the need for the period of time set forth herein
28    for effective defense preparation, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i)

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1     and (iv).
2            Time has previously been excluded under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
3     through the May 22, 2017 status conference for inter alia defense trial preparation.
4                                                           Respectfully submitted,
5
                                                            HEATHER E. WILLIAMS
6                                                           Federal Defender
7            DATED: May 4, 2017                             /s/ Megan T. Hopkins
                                                            Megan T. Hopkins
8                                                           Assistant Federal Defender
                                                            Attorneys for Defendant
9                                                           RAMSEY J. FARRAJ
10
                                                            PHILLIP A. TALBERT
11                                                          United States Attorney
12           DATED: May 4, 2017                             /s/ Karen Escobar
                                                            Karen Escobar
13                                                          Assistant United States Attorney
                                                            Attorneys for Plaintiff
14
15                                               ORDER
16           The Court has reviewed and considered the stipulation of the parties to vacate the status
17    conference and set a change of plea hearing in this case. Good cause appearing, the status
18    conference as to Ramsey J. Farraj currently set for May 10, 2017, before Magistrate Judge
19    Barbara A. McAuliffe is vacated and a change of plea hearing is set for May 22, 2017, at
20    10:00am in Courtroom 5 before District Judge Dale A. Drozd. The time period between May 10,
21    2017 and May 22, 2017 is excluded under the Speedy Trial Act pursuant to 18 U.S.C. §
22    3161(h)(7)(A) and (B)(i) and (iv), as based on the representations of counsel the ends of justice
23    served by granting the continuance outweigh the best interest of the public and the defendant in a
24    speedy trial.
25
      IT IS SO ORDERED.
26
27
          Dated:      May 4, 2017
                                                        UNITED STATES DISTRICT JUDGE
28

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